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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WISCONSIN

 

GENERAL ELECTRIC COMPANY,

ORDER OF DISMISSAL
Plaintiff,

Case NO. OS-Cv-Z()S-bbe
v.

SONOSITE, INC.,

Defendant.

 

The court having been advised by eounsei for the parties that the above-entitled

action has been settled, this ease is hereby dismissed with prejudice

Eritered this g7'p¢cTay Of Oetober, 2009.

‘@~.M"B- C¢_.a.»¢-»i_,

 

Barbara B. Crabb
United States District Iudge

 

